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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                       Case No. 21-20706-Civ-GAYLES/TORRES

  MEUDY ALBÁN OSIO in her personal capacity,
  And in her capacity as the personal representative
  of the Estate of FERNANDO ALBERTO ALBÁN,
  FERNANDO ALBÁN OSIO, and MARIA FERNANDA
  ALBÁN OSIO,

        Plaintiffs,

  v.

  NICOLAS MADURO MOROS; FUERZAS
  ARMADAS REVOLUCIONARIAS DECOLOMBIA
  (“FARC”); THE CARTEL OF THE SUNS A.K.A.
  CARTEL DE LOS SOLES; VLADIMIR PADRINO
  LOPEZ; MAIKEL JOSE MORENO PEREZ; NESTOR
  LUIS REVEROL TORRES; and TAREK WILLIAM
  SAAB,

        Defendants.
  ___________________________________________/

                   REPORT AND RECOMMENDATION ON
               PLAINTIFFS’ MOTION FOR WRIT OF EXECUTION

        This cause comes before the Court on Plaintiffs’ Motion for a Writ of Execution

  [D.E. 94] pertaining to the Learjet 45 (Tail Number YV2730) (“Learjet 45”), currently

  impounded at the Fort Lauderdale-Hollywood International Airport and owned by

  Petroleos de Venezuela, S.A. (“PDVSA”). Defendants have not filed a response to the

  motion and the time to do so has passed. Additionally, no third parties have filed

  objections to Plaintiffs’ motion and a reasonable time has passed. The motion,




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  therefore, is ripe for disposition.1 After careful review of the motion, supplement [D.E.

  105], evidence of record, and relevant authorities, we recommend that Plaintiffs’

  motion be GRANTED and a writ of execution be issued by the clerk as to Learjet 45.

                                 I.     BACKGROUND

        This lawsuit stems from Defendants’ kidnapping, torture, and murder of

  Plaintiffs’ decedent, Fernando Alberto Alban. On August 4, 2023, final default

  judgment was entered in Plaintiffs’ favor on all eight counts of their complaint [D.E.

  1] for a total judgment of $217,000,000.00.

        To date, no evidence exists of Defendants making payment towards that

  judgment debt. Plaintiffs’ pending motion, therefore, seeks a writ of execution against

  the Learjet 45 to obtain partial payment of the judgment (i.e., the value of the Learjet

  45) pursuant to Florida law and the Terrorism Risk Insurance Act (“TRIA”). The

  Learjet 45 is owned by PDVSA and is being held at the Fort Lauderdale-Hollywood

  International Airport. Plaintiffs contend that the PDVSA is an instrumentality or

  agency of Defendants, Cartel of the Suns (the “Cartel”) and Nicolas Maduro Moros.

  Currently prohibiting the release of the Learjet 45 is the Office of Foreign Assets

  Control (“OFAC”), who ostensibly requires a court order to release the Learjet 45.

        While Plaintiffs sought the issuance of an ex parte writ, the Court required

  that Plaintiffs supplement their motion to confirm that written notice has been

  provided to interested parties. Plaintiffs indeed filed that supplement on April 30,




  1 On January 5, 2024, the Honorable Darrin P. Gayles referred this matter to the

  Undersigned Magistrate Judge for disposition. [D.E. 96].

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  2024, and confirmed that they provided written notice to interested parties. [D.E.

  105]. No opposition from Defendants or non-parties has been filed. [D.E. 105].

                    II.    APPLICABLE LAW AND PRINCIPLES

        Under Federal Rule of Civil Procedure 69(a)(1), “[t]he procedure on execution

  … must accord with the procedure of the state where the court is located, but a federal

  statute governs to the extent it applies.” Consequently, here, Florida law governs the

  writ of execution process and the TRIA governs whether the Court may issue a writ

  of execution upon property that the OFAC has blocked. See Marron v. Moros, No. 21-

  23190-CIV, 2023 WL 6356969, at *4 (S.D. Fla. Sept. 29, 2023) (“This means that

  Florida law provides the rules of procedure governing execution, and TRIA provides

  the substantive provisions that allow for executing on assets that OFAC has

  blocked.”).

        In Florida, “an execution is valid and effective during the life of the judgment,

  order, or decree on which it is issued.” § 56.021, Fla. Stat. A three-step process

  governs writs of execution. First, a writ of execution issues. §§ 56.031, 56.061, Fla.

  Stat. Second, the sheriff (or in this case, the U.S. Marshal) levies on the property.

  § 56.061, Fla. Stat.; 28 U.S.C. § 566. Third, the U.S. Marshal advertises a notice of

  sale for four consecutive weeks prior to selling the property. Fla. Stat. § 56.21.

        While under Florida law a writ of execution may be automatic, in this instance,

  the Court must determine whether the Learjet 45 falls within the TRIA’s purview.




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                                    III.   ANALYSIS

        Because the PDVSA is the third-party owner of the Learjet 45, the crux of the

  Court’s analysis is whether the Learjet 45 may be subject to a writ of execution under

  the TRIA. While Plaintiffs also preemptively address an anticipated objection under

  the Foreign Sovereign Immunities Act, seeing that no objection has been lodged, the

  Court does not deem it necessary or appropriate to address that argument.

        Under Section 201(a) of the TRIA, victims of international terrorism are

  permitted to execute upon “the blocked property not only of the defendant

  terrorist/judgment debtor, but also the defendant’s agency or instrumentality.”

  Marron, 2023 WL 6356969, at *8. Indeed, “[a]s relevant here, § 201(a) of the [TRIA],

  codified as a note to 28 U.S.C. § 1610, provides that ‘[n]otwithstanding any other

  provision of law ... the blocked assets of [a] terrorist party [against which a judgment

  is obtained] (including the blocked assets of any agency or instrumentality of that

  terrorist party) shall be subject to execution or attachment.’” Stansell v.

  Revolutionary Armed Forces of Colombia, 45 F.4th 1340, 1346 (11th Cir. 2022)

  (Stansell V).

        There are four requirements “to execute on or attach the assets of a third party

  who is alleged to be an agency or instrumentality of a terrorist party.” Id. at 1347.

  First, the movant must prove that “he obtained a judgment against a terrorist party

  for a claim based on an act of terrorism.” Id. Second, the movant must prove “the

  amount sought to be executed … does not exceed the compensatory damages awarded

  to the movant.” Id. Third, the third party’s asset must be “blocked.” Id. Lastly, the



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  third party must be “an agency or instrumentality of the terrorist party.” Id. (citing

  Stansell v. Revolutionary Armed Forces of Colombia, 771 F.3d 713 (11th Cir. 2014)

  (Stansell II)).

         We will address in turn the four requirements, against which no opposition has

  been filed.

         A. Whether a proper judgment was obtained

         First, we must determine whether Plaintiffs obtained a judgment against a

  terrorist party for an act of terrorism. Id. Specifically, Plaintiffs must demonstrate

  that Defendants are a “terrorist organization” who committed “terrorist activity”

  under 8 U.S.C. § 1182(a)(3)(B)(iii). Terrorist activity includes “assassination” and/or

  “the use of any … weapon or dangerous device … with intent to endanger … the safety

  of one or more individuals.” § 1182(a)(3)(B)(iii)(V)(b).

         Here, as the Court found in its since-adopted Report and Recommendation on

  Plaintiffs’ summary judgment motion, the Defendant-Cartel is a group of two or more

  persons; is responsible for killing Mr. Alban; and is responsible for using weapons or

  dangerous devices in the torture of Mr. Alban. Thus, under TRIA § 201, Defendants

  are a “terrorist organization” who engaged in “terrorist activity.” Additionally, it

  cannot be disputed that Plaintiffs obtained a judgment based on these terrorist acts.

  [D.E. 59]. Thus, the first requirement is met.




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        B. Whether the amount sought exceeds the compensatory damages

        Plaintiffs seek $217,000.00 from the proposed sale of the Learjet 45. [D.E. 94-

  2]. The compensatory damage award, meanwhile, is $65,000,000.00. [D.E. 59]. This

  requirement is therefore met.

        C. Whether the asset is blocked

        Whether an asset is “blocked” can be “definitively established by the fact that

  OFAC has taken action against the alleged agency or instrumentality under TWEA

  or IEEPA.” Stansell II, 771 F.3d at 726. Here, Plaintiffs have demonstrated that

  PDVSA (the owner of Learjet 45) has been designated by OFAC and therefore its

  assets are subject to OFAC blocking; the Learjet 45 is thus blocked by OFAC. [D.E.

  94-40] (article from the U.S. Department of the Treasury noting that PDVSA has

  been designated by OFAC). Thus, the third requirement is met.

        D. Whether PDVSA is an agency or instrumentality of Defendants

        In the Eleventh Circuit, “[a] third party who provides material support to a

  terrorist at any point in time constitutes an agency or instrumentality, even if they

  purportedly stopped aiding the terrorist.” Marron, 2023 WL 6356969, at *13 (citing

  Stansell V, 45 F.4th at 1350).

        Here, we lean heavily on OFAC’s determinations regarding PDVSA; indeed,

  the “decision of the OFAC is entitled to great deference, and should be reversed only

  if arbitrary and capricious.” De Cuellar v. Brady, 881 F.2d 1561, 1565 (11th Cir. 1989);

  see also Paradissiotis v. Rubin, 171 F.3d 983, 987 (5th Cir. 1999) (noting that an

  OFAC designation “receives an even greater degree of deference than the Chevron



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  standard, and must prevail unless plainly inconsistent with the regulation”). OFAC

  has designated PDSVA pursuant to Executive Orders 13850 and 13884 because

  PDVSA supports Mr. Maduro in orchestrating illegal activity.

        Indeed, OFAC has recognized that designating “PDVSA will help prevent

  further diverting of Venezuela’s assets by Maduro” and that “PDVSA has long been

  a vehicle for corruption.” [D.E. 40]. Additionally, OFAC has identified PDVSA as the

  “primary conduit for corruption” by Maduro and described PDVSA as a Maduro-

  created “secret network to evade sanctions” and to “plunder Venezuela’s resources for

  personal gain.” [D.E. 45]. To date, PDVSA remains designated by OFAC. [Id.].

        Thus, we see no reason—and have little option—to stray from OFAC’s

  designation and findings. See Stansell v. Revolutionary Armed Forces of Colombia,

  No. 19-20896-CV, 2019 WL 5291044, at *7 (S.D. Fla. Aug. 21, 2019), report and

  recommendation adopted sub nom., 2019 WL 5290922 (S.D. Fla. Sept. 26, 2019)

  (holding that an entity was an agency or instrumentality of a terrorist organization

  because, in part, “we must give great deference to OFAC with regard to its

  designation of El Aissami and Lopez Bello as SDNTs”) (citing De Cuellar, 881 F.2d at

  1565); Stansell v. Revolutionary Armed Forces of Colombia (FARC), No. 8:09-CV-

  2308-T-26MAP, 2013 WL 12203820, at *6 (M.D. Fla. Apr. 19, 2013) (same); Marron,

  2023 WL 6356969 at *14 (same).

        Accordingly, because all four requirements of TRIA § 201 and Stansell are

  satisfied, we recommend that a writ of execution be entered.2


  2 We also are conscious of the TRIA’s notice requirement, § 1610(c). The Court has

  satisfied this requirement by ordering Plaintiffs [D.E. 102] to submit a supplement

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                                    IV.   CONCLUSION

        For the reasons set forth above, we RECOMMEND that Plaintiffs’ Motion for

  Writ of Execution [D.E. 94] be GRANTED, and that the clerk issue a writ of execution

  upon the Learjet 45 (Tail Number YV2730) in accordance with Plaintiffs’ proposed

  writ of execution. [D.E. 94-2].

        Pursuant to Local Magistrate Rule 4(b) and Fed. R. Civ. P. 73, the Court finds

  good cause to expedite objections. Accordingly, the parties and any non-parties have

  seven (7) days from service of this Report and Recommendation within which to file

  written objections, if any, to the District Judge. Failure to timely file objections shall

  bar the parties from de novo determination by the District Judge of any factual or

  legal issue covered in the Report and shall bar the parties from challenging on appeal

  the District Judge’s Order based on any unobjected-to factual or legal conclusions

  included in the Report. 28 U.S.C. § 636(b)(1); 11th Cir. Rule 3-1; see, e.g., Patton v.

  Rowell, 2017 WL 443634 (11th Cir. Feb. 2, 2017); Cooley v. Commissioner of Social

  Security, 2016 WL 7321208 (11th Cir. Dec. 16, 2016).

        DONE AND SUBMITTED in Chambers at Miami, Florida, this 10th day of

  June, 2024.

                                                  /s/ Edwin G. Torres
                                                  EDWIN G. TORRES
                                                  United States Magistrate Judge




  to confirm all interested parties have been served with Plaintiffs’ motion. That
  supplement was submitted over one month ago; thus, a reasonable time has passed
  for objections. [D.E. 105].

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